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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )     4:06CR3040
                                     )
     v.                              )
                                     )
NOE GUSTAVO CHAVEZ LOYA,             )       ORDER
                                     )
     Defendant.                      )



     IT IS ORDERED,

     The joint oral motion of counsel is granted and,

     The change of plea hearing is continued to September 22,
2006 at 11:30 a.m.

     For this defendant, the time between today’s date and the
hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

     The defendant shall be present at the hearing.

     Dated August 22, 2006.


                                   BY THE COURT


                                   s/    David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
